
53 So.3d 368 (2011)
J.P., a juvenile, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D10-1406.
District Court of Appeal of Florida, Third District.
January 26, 2011.
Carlos J. Martinez, Public Defender, and Howard K. Blumberg, Assistant Public Defender, for appellant.
Pamela Jo Bondi, Attorney General, and Heidi Milan Caballero, Assistant Attorney General, for appellee.
Before WELLS, LAGOA, and EMAS, JJ.
PER CURIAM.
Affirmed. See State v. Zaldivar, 34 So.3d 76 (Fla. 3d DCA 2010); Prestley v. State, 896 So.2d 862, 864 (Fla. 5th DCA 2005) ("Occupants of a private vehicle are traveling together by choice and thus may be assumed to have some personal or business association with one another. Knowledge or suspicion that one of the occupants has been involved in criminal activity occurring within the car, or involving the car itself, serves as a basis for a reasonable suspicion that the other occupants may be participants in that activity. Therefore, we conclude that since the officers had a reasonable suspicion that the car was stolen, they had a basis for stopping and questioning the passengers in the vehicle, including the Juvenile.").
